      Case 23-13858-djb         Doc 4 Filed 12/22/23 Entered 12/22/23 08:19:34                     Desc Order
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                    )
    Lisa Ann Scott                                        )           Case No. 23−13858−mdc
                                                          )
                                                          )
     Debtor(s).                                           )           Chapter: 13
                                                          )
                                                          )


                                         Order Requiring Documents
      AND NOW, the debtor having failed to file or submit with the petition all of the documents required by Fed.
R. Bankr. P. 1007,

       It is hereby ORDERED that:

       1. This case MAY BE DISMISSED WITHOUT FURTHER NOTICE if the documents listed below are not
filed by deadline also listed below:

             Documents and Deadline

             Matrix Due 12/28/23
             Means Test Calculation 122C−2 Due 1/4/24
             Plan Due 1/4/24
             Schedules A Due 1/4/24
             Schedules B Due 1/4/24
             Schedules C Due 1/4/24
             Schedules D Due 1/4/24
             Schedules E Due 1/4/24
             Schedules F Due 1/4/24
             Schedules G Due 1/4/24
             Schedules H Due 1/4/24
             Schedules I Due 1/4/24
             Schedules J Due 1/4/24
             Statement of Attorney Compensation Due 1/4/24
             Statement of Current Monthly Income (122C−1) Due 1/4/24
             Statement of Financial Affairs Due 1/4/24
             Summary of Assets and Liabilities Due 1/4/24

      2. Any request for an extension of time must be filed prior to the expiration of the deadlines listed above in
Paragraph 1.


Date: December 22, 2023                                             By the Court

                                                                    Magdeline D. Coleman
                                                                    Chief Judge, United States Bankruptcy Court
